        Case 2:16-cr-00010-TLN Document 31 Filed 04/05/16 Page 1 of 3


 1   CANDACE A. FRY
     CA Bar No. 68910
 2   2401 Capitol Avenue
 3   Sacramento, CA 95816
     Telephone: 916.446.9322
 4   FAX: 916.446.0770
     E mail: c.fry@att.net
 5
     Attorney for STARSHEKA MIXON,
 6   Defendant
 7
 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                   No. 2:16-CR-0010-MCE
12
                       Plaintiff,
13
            v.                                  STIPULATION REGARDING EXCLUDABLE
14                                              TIME PERIODS UNDER SPEEDY TRIAL
     DENNA CHAMBERS, aka DENNA                  ACT; ORDER
15   RICE, and STARSHEKA MIXON,

16                     Defendants.

17
18          It is hereby stipulated and agreed by and between the parties hereto, through

19   their respective counsel, as follows:

20          1. By previous order, this matter was set for status on March 31, 2016.

21          2. By this stipulation, defendants now move to continue the status conference

22               until June 2, 2016, and to exclude time between March 31, 2016, and June 2,

23               2016, under Local Code T4.

24          3. The parties agree and stipulate and request that the Court find the following:

25               a. Counsel for defendants require additional time to review document

26                  discovery disseminated by the Government consisting of more than 25,000

27                  pages, to examine possible defenses, to investigate the facts of the case

28                  and to conduct other defense preparation. Counsel for defendants believe
                                                  1
           Case 2:16-cr-00010-TLN Document 31 Filed 04/05/16 Page 2 of 3


 1
                    that failure to grant the above-requested continuance would deny them
 2
                    reasonable time necessary for effective preparation, taking into account the
 3
                    exercise of due diligence.
 4
                 b. The Government does not object to the continuance.
 5
                 c. Based on the above-stated findings, the ends of justice served by
 6
                    continuing the case as requested outweigh the interest of the public and
 7
                    the defendant in a trial within the original date prescribed by the Speedy
 8
                    Trial Act.
 9
                 d. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
10
                    Section 3161, et seq., within which trial must commence, the time period of
11
                    March 31, 2016, to June 2, 2016, inclusive, is deemed excludable pursuant
12
                    to 18 U.S.C. Section 3161(h)(7)(A), B(iv) (Local Code T4) because it
13
                    results from a continuance granted by the Court at defendants’ request on
14
                    the basis of the Court’s finding that the ends of justice served by taking
15
                    such action outweigh the best interest of the public and the defendants in a
16
                    speedy trial.
17
     ///
18
     ///
19
     ///
20
     ///
21
     ///
22
     ///
23
     ///
24
     ///
25
     ///
26
     ///
27
     ///
28
                                                   2
           Case 2:16-cr-00010-TLN Document 31 Filed 04/05/16 Page 3 of 3


 1
     ///
 2
              4.     Nothing in this stipulation and order shall preclude a finding that other
 3
              provisions of the Speedy Trial Act dictate that additional time periods are
 4
              excludable from the period within which a trial must commence.
 5            IT IS SO STIPULATED.
 6
     Dated: March 28, 2016                              /s/ Candace A. Fry
 7                                                      CANDACE A. FRY, Attorney for
 8                                                      STARSHEKA MIXON, Defendant

 9
     Dated: March 28, 2016                              HEATHER E. WILLIAMS,
10                                                      Federal Defender
11                                                      By /s/ Candace A. Fry for
12                                                      MATTHEW C. BOCKMON
                                                        Assistant Federal Defender
13                                                      Attorney for DENNA CHAMBERS,
                                                        Defendant
14
     Dated: March 28, 2016                              BENJAMIN B. WAGNER,
15
                                                        United States Attorney
16
17                                                      By /s/ Candace A. Fry for
                                                        SHELLEY D. WEGER
18                                                      Assistant United States Attorney
19
                                                        (Signed for Mr. Bockmon and Ms. Weger
20                                                      with their prior authorization)

21
                                                 ORDER
22
          IT IS SO ORDERED.
23
     Dated: April 4, 2016
24
25
26
27
28
                                                    3
